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    2                                                         DENIED
    3                                             BY ORDER OF THE COURT
    4
                                            Without prejudice to filing a noticed Motion - 11/5/18
    5

    6

    7

    8                             UNITED STATES DISTRICT COURT

    9              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

   10
                                                    Case No. 18-cv-02174-JFW-(GJSx)
   11   LIU LUWEI, an individual, and LV
        DEZHENG, an individual,
   12                                               ORDER GRANTING REQUEST BY
   13                        Petitioners,           JUDGMENT CREDITORS/PETITIONERS
                                                    FOR RECOGNITION OF ADDITIONAL
   14                 v.                            NAME OF JUDGMENT
                                                    DEBTOR/RESPONDENT AS TO WRIT OF
   15                                               EXECUTION
        PHYTO TECH CORP., a California
   16   corporation,
   17
                             Respondent.
   18

   19                 Pursuant to the Request by Judgment Creditors/Petitioners for Recognition of

   20   Additional Name of Judgment Debtor/Respondent as to Writ of Execution; Declaration of Liu

   21   Luwei in Support (“Request for Recognition”), filed on November 5, 2018, as Docket No. 73,

   22   having been reviewed by the Court, and good cause appearing therefrom,

   23          IT IS HEREBY ORDERED THAT:

   24          The Request for Recognition is GRANTED in full, and for the purposes of enforcement

   25   of judgment by and through a Writ of Execution, the additional identity of PHYTO TECH

   26   CORP. is recognized as follows:

   27

   28                       PHYTO TECH CORP. dba BLUE CALIFORNIA CO.

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